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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

 JEFFREY HAKANSON,

        Plaintiff,
 v.                                             CASE NO.: 8:18-cv-00599-VMC-JSS

 GREAT LAKES HIGHER EDUCATION
 CORPORATION,

        Defendant.
                                           /

  NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE OF DEFENDANT
            GREAT LAKES HIGHER EDUCATION CORPORATION
       PLAINTIFF, JEFFREY HAKANSON, by and through his undersigned counsel and

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A), hereby gives notice of his voluntary

dismissal of this action against GREAT LAKES HIGHER EDUCATION CORPORATION,

without prejudice.

                              CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that, on this 4th day of April, 2018, a true and correct copy of the
foregoing was filed with the Clerk of the Court and served on the parties of record using the
CM/ECF system.
                                   Respectfully submitted,
                                          /s/Heather H. Jones
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